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                EXHIBIT 3
             Initial Return of Service

        Lafferty, et al., v. Jones, et al.
         Judicial District of Fairfield
       Dkt. No. FBT-CV-XX-XXXXXXX-S
                May 23, 2018
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STATE OF CONNECTICUT:
                                SS: HARTFORD                       MAY 23, 2018
COUNTY OF HARTFORD :


Then and by virtue hereof, and by direction of the Plaintiff's Attorney, pursuant to C.G.S. Section 52-
59b, I left a verified, true and attested copy of the within original WRIT, SUMMONS and
COMPLAINT at the office of Denise Merrill, Secretary of State, Statutory Agent for Service and duly
authorized to accept service on behalf of the within named Defendant ALEX EMRIC JONES and
paid statutory fees in the amount of $50.00, at 30 Trinity Street, in the Town of Hartford, County of
Hartford.

And afterward, on the 23 rd day of May, 2018, a verified, true and attested copy of the within original
WRIT, SUMMONS, COMPLAINT and DEFENDANT'S RETURN with an endorsement thereon of
service upon the Connecticut Secretary of State was deposited in the U.S. Mail, Rocky Hill, CT,
Certified Mail and Return Receipt Requested, addressed to the within named Defendant:
ALEX EMRTC JONES
15101 BACK OF THE MOON STREET
AUSTIN, TX 78734

The complete address is stated above.
Supplemental return to follow.


And afterward, on the 23 rd day of May, pursuant to C.G.S. Section 34-275a, I left two verified, true and
attested copies of the within original WRIT, SUMMONS and COMPLAINT at the office of Denise
Merrill, Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf
of the within named Defendant INFOWARS, LLC and paid statutory fees in the amount of $50.00, at
30 Trinity Street, in the Town of Hartford, County of Hartford.

And afterward, on the 23 rd day of May, pursuant to C.GS . Section 34-275a, I left two verified, true and
attested copies of the within original WRIT, SUMMONS and COMPLAINT at the office of Denise
Merrill, Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf
of the within named Defendant FREE SPEECH SYSTEMS, LLC and paid statutory fees in the
amount of $50.00, at 30 Trinity Street, in the Town of Hartford , County of Hartford.

And afterward, on the 23rd day of May, pursuant to C.G.S. Section 34-275a, I left two verified , true and
attested copies of the within original WRIT, SUMMONS and COMPLAINT at the office of Denise
Merrill, Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf
of the within named Defendant INFOWARS HEALTH, LLC and paid statutory fees in the amount of
$50.00, at 30 Trinity Street, in the Town of Hartford, County of Hartford.

And afterward, on the 23 rd day of May, pursuant to C.G.S. Section 34-275a, I left two verified, true and
attested copies of the within original WRIT, SUMMONS and COMPLAINT at the office of Denise
Merrill , Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf
of the within named Defendant PRISON PLANET TV, LLC and paid statutory fees in the amount of
$50.00, at 30 Trinity Street, in the Town of Hartford, County of Hartford.
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And afterward, on the 23 rd day ofMay, 2018, pursuant to C.GS. Section 52-59b, I left a verified , true
and attested copy of the within original WRIT, SUMMONS and COMPLAINT at the office of Denise
Merrill, Secretary of State, Statutory Agent for Service and duly authorized to accept service on behalf
of the within named Defendant WOLFGANG HALBIG and paid statutory fees in the amount of
$50.00, at 30 Trinity Street, in the Town of Hartford, County of Hartford.

And afterward, on the 23 rd day of May, 2018, a verified, true and attested copy of the within original
WRIT, SUMMONS, COMPLAINT and DEFENDANT'S RETURN with an endorsement thereon of
service upon the Connecticut Secretary of State was deposited in the U.S. Mail, Rocky Hill, CT,
Certified Mail and Return Receipt Requested, addressed to the within named Defendant:
WOLFGANG HALBIG
25526 HAWKS RUN LANE
SORRENTO, FL 32776

Supplemental return to follow.


And afterward, on the 23 rd day of May, 2018, I left a verified, true and attested copy of the within
original WRIT, SUMMONS and COMPLAINT at the usual place of abode of the within named
Defendant CORY T. SKLANKA at 515 Gracey Avenue, in the Town of Meriden, County of New
Haven.

I verified the Defendant's address with the Town Assessors office . He owns the property . I also called
the CT Department of Motor Vehicles and confirmed that the car that was in the driveway was owned
by him. His girlfriend answered the door and confirmed that he resides there.

And afterward, on the 23 rd day of May, 2018, pursuant to C.G.S. Section 33-929(b)(l) a verified, true
and attested copy of the within original WRIT, SUMMONS and COMPLAINT was deposited in the
U.S. Mail, Rocky Hill, CT, Certified Mail and Return Receipt Requested , addressed to the within
named Defendant:
GENESIS COMMUNICATIONS NETWORK, INC.
C/O THE SECRETARY
190 COBBLESTONE LANE
BURNSVILLE, MN 55337

Supplemental return to follow.


And afterward, on the 23rd day of May, 2018, pursuant to C.GS. Section 33-929(b)(l) a verified , true
and attested copy of the within original WRIT, SUMMONS and COMPLAINT was deposited in the
U. S Mail, Ro cky Hill, CT, Certified Mail and Return Receipt Requested , addressed to the within
named Defendant:
MIDAS RESOURCES, INC.
C/O THE SECRETARY
190 COBBLESTONE LANE
BURNSVILLE, MN 55337

Supplemental return to follow.
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The within are the original WRIT, SUMMONS and COMPLAINT with my doings hereon endorsed .

SERVICE:              $  240.00
PAID SEC OF STATE        300.00
PAID POSTAGE              36.28
PAGES                    632.00
40MILES                   21.80
ENDORSEMENTS              13.20
TOTAL                 $ 1243.28
